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                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE WESTERN DISTRICT OF LOUISIANA

 STEVISON INVESTMENTS, LLC    *
                    Plaintiff,* CIVIL ACTION NO. 2:21-cv-4416
                              *
 vs.                          * JUDGE
                              *
 BLACKBOARD INSURANCE         * MAGISTRATE JUDGE
 COMPANY                      *
                   Defendant. * JURY DEMAND
                              *
                              *
*************************
                           COMPLAINT

        NOW INTO COURT, through undersigned counsel, comes Complainant, Stevison

Investments, LLC (hereinafter “Complainant” or “Stevison Investments”), and files its Complaint

against Defendant, Blackboard Insurance Company (hereinafter “Defendant” or “Blackboard”),

respectfully averring as follows:

                                        I.     PARTIES

    1. Made Plaintiff herein is Stevison Investments, LLC, a limited liability company

        authorized to do and doing business in the State of Louisiana and the Parish of Calcasieu.

    2. Made Defendant herein is Blackboard Insurance Company, a non-Louisiana insurance

        company authorized to do and doing business in the State of Louisiana and the Parish of

        Calcasieu, which may be served through the Louisiana Secretary of State.

                              II.   JURISDICTION AND VENUE

    3. Jurisdiction is proper in this Honorable Court pursuant to 28 U.S.C. § 1332 and 1441

        because complete diversity of citizenship exists between the parties and because the

        amount in controversy is greater than the minimum jurisdictional amount.
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  4. Venue is proper in this Honorable Court pursuant to 28 U.S.C. § 1391(b) because a

     substantial part of the events or omissions giving rise to the claim occurred in this District;

     Complainant resides in this District and the Properties that is subject to the dispute between

     Complainant and Blackboard is located in this District.

                                III.      RELEVANT FACTS

                                         a.     Prior suit

  5. On January 21, 2021, Plaintiff filed a Complaint for Damages against Defendant, seeking

     damages related to breaches of an insurance contract and for statutory bad faith penalties

     as delineated in La. R.S. §§ 22:1892 and 22:1973, et al.

  6. The case caption for that matter is Stevison Investments, LLC v. Blackboard Insurance

     Company, WDLA No. 2:21-cv-00174.

  7. At all times relevant hereto, Complainant owned the properties located at 645 Petro Point

     Dr., Lake Charles, LA 70607 and 650 Petro Point Dr., Lake Charles, LA 70607 (the

     “Properties”).

  8. At all times relevant hereto, Defendant provided a policy of insurance, Policy Number

     HARDINS00001HIBP-17368-02 (the “Policy”) to Complainant which covered the

     Properties against perils including wind, hail, and water.

  9. The Properties were damaged severely as a result of Hurricanes Laura and Delta.

  10. After inspecting the Properties, Defendant underpaid Plaintiff’s claims substantially.

  11. On January 21, 20201, Plaintiff, with scarce other options filed suit against Defendant for

     the recovery of the remaining amount of their damages.

                                    b.        The Settlement

  12. The parties confected a confidential settlement agreement on November 3, 2021.
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  13. La. R.S. § 22:1892 imposes bad faith penalties on insurers who fail to adequately pay

     claims following satisfactory proof of loss within thirty (30) days.

  14. Under the statute, Defendant had until December 3, 2021, to issue complete payment to

     Plaintiff.

  15. Despite the language contained in La. R.S. § 22:1892, Defendant had only sent one

     payment to Plaintiff by December 8, 2021, totaling less than one-third of the total

     settlement agreement.

  16. This check, written on November 19, 2021, failed to include the undersigned as a payee,

     in accordance with the settlement agreement.

  17. The check unaccompanied by a letter or other communication, failed to identify any

     reservations taken by Defendant in tendering the amount.

  18. Defendant made no other indication for its delay in tendering the remainder of settlement

     payments.

  19. Only after the undersigned sent a draft of this Complaint for Damages on December 8,

     2021, Defendant’s counsel hand delivered the remainder of the settlement proceeds on

     December 9, 2021, to Plaintiff’s counsel.

  20. During the confection of the settlement agreement, the parties entered into a preliminary

     agreement via email.

  21. The agreement required a full release, but made no mention of notary or witnesses being

     required to confect the release.

  22. Both federal and state law allow for the acceptance of electronic signatures.

  23. As a result, Plaintiff’s representative, Heath Stevison, electronically signed the settlement

     agreement through a program, Vinesign.
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  24. In order to give Defendant’s counsel more comfort that Plaintiff’s representative, Heath

     Stevison, had signed the document (which is the only purpose that a witness and notary

     provision could rationally serve), an electronic signature service (Vinesign) was used

     with “gesture authentication.”

  25. As was explained to Defendant’s counsel, that service randomly picks a gesture and

     instructs the signor to make that gesture and take a photograph of himself.

  26. The service then automatically copied the photograph onto the last page of the

     authentication along with a description as to what gesture was requested, a “peace sign.”

  27. The last page also contains the typical electronic signature tracking information.

  28. In the event Defendant contends the execution of the settlement agreement by Plaintiff’s

     representative was somehow faulty, it waived all claims of the same when it tendered its

     partial settlement payment, as it did so with no further reservation.

                               IV.     CAUSES OF ACTION

                                       a.     Bad faith

  29. Complainant realleges and re-avers the allegations contained in preceding paragraphs, as

     if restated herein.

  30. The parties confected a confidential settlement agreement on November 3, 2021, but

     Defendant has paid less than one-third of the settlement amount prior to the elapsing of

     the thirty-day period ascribed by La. R.S. § 22:1892.

  31. Despite the parties’ settlement agreement, Defendant failed to timely tender the full

     amount of the sum to Plaintiff or its counsel.

  32. Upon information and belief, further evidence of Defendant’s bad faith will be revealed

     through the discovery process.
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  33. La. R.S. § 22:1892 imposes bad faith penalties on insurers who fail to adequately pay

     claims following satisfactory proof of loss or settlements within thirty (30) days.

  34. The actions and/or inactions of Defendant in failing to timely tender settlement proceeds

     to Complainant for the amount agreed to by the parties were arbitrary, capricious, and

     without probable cause – as those terms are used in conjunction with La. R.S. §§ 22:1892

     and 22:1973, making Defendant liable for statutory bad faith penalties.

  35. Complainant has incurred additional expenses in making repairs because Defendant failed

     to timely compensate it for its losses under the Policy.

  36. Complainant incurred professional expenses, including expert and/or attorney’s fees, to

     determine that Defendant wrongfully failed to adequately/timely pay on their claims under

     the Policy.

                                     V.      DAMAGES

  37. Complainant realleges and re-avers the allegations contained in the preceding Paragraphs

     above, as if restated herein.

  38. Defendant is liable to Complainant under the following legal theories:

         a. Bad faith claims adjusting practices, including, but not limited to, failing to issue

             the entirety of settlement proceeds within 30 days of the confection of the

             settlement;

         b. Any and all other legal theories of recovery that become apparent during the

             discovery process and proven at the trial of this matter.

  39. As a result of Defendant’s breaches of contract, bad faith claims adjusting, and other bad

     acts, Complainant has incurred the following, non-exclusive damages:

         a. Penalties delineated in La. R.S. §§ 22:1892 and 22:1973;
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           b. Attorney’s fees, other professional fees, and litigation costs associated with

               thebringing of this action; and

           c. Any and all other damages that are shown through discovery and/or proven at

               thetrial of this matter.

                                     VI.     JURY DEMAND

   40. Complainant requests a trial by jury.

       WHEREFORE, Complainant, Stevison Investments, LLC, prays that, Defendant,

Blackboard Insurance Company, be served with a copy of this Complaint and be duly cited to

appear and answer the allegations contained therein, and that after expiration of all legal delays

and proper legal proceedings, there be a judgment entered in favor of Complainant, Stevison

Investments, LLC and against Defendant, Blackboard Insurance Company, in an amount that will

fully and fairly compensate Complainant pursuant to the evidence and in accordance with the law,

all sums with legal interest thereon, from the date of judicial demand until fully paid, for all costs

of these proceedings, and for all general and equitable relief.
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                                        RESPECTFULLY SUBMITTED:




                                        Galen M. Hair, La. Bar. No. 32865
                                        Madison Pitre, La. Bar. No. 38867
                                        HAIR SHUNNARAH TRIAL
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Summons to Be Issued
